     Case 3:12-cv-01551-LAB-NLS Document 28 Filed 06/21/13 Page 1 of 2




1
2
3
4
5
6
7
8
                          UNITED STATES DISTRICT COURT
9
                       SOUTHERN DISTRICT OF CALIFORNIA
10
11
      QUENTIN MOORE and LEAH              ) Case No. 3:12-CV-1551-LAB-NLS
12    ERVIN, individually, and on         )
      behalf of all others similarly      )
13    situated,                           ) ORDER ADOPTING REPORT AND
                                          ) RECOMMENDATION
14                       Plaintiff,       )
                                          )
15    vs.                                 )
                                          )
16    FITNESS INTERNATIONAL,              )
      LLC,                                )
17                                        )
                    Defendant.            )
18
19
20          This matter was referred to Magistrate Nita Stormes pursuant to 28 U.S.C. §
21   636(b)(1)(B) for the purpose of conducting such proceedings as may be necessary on
22   the parties’ Joint Motion for Preliminary Approval of Class/Collective Action
23   Settlement. Judge Stormes issued her report and recommendation, recommending that
24   the Joint Motion for Preliminary Approval be GRANTED, as follows: (1) certify
25   class for settlement purposes only; (2) provisionally appoint class counsel; (3) grant
26   joint motion for preliminary approval of class and collective action settlement; (4)
27   approve form and manner of notice; and (5) award payments to class representatives,
28   and in accordance with the statute set forth above that “[w]ithin fourteen days after
                                              -1-
     Case 3:12-cv-01551-LAB-NLS Document 28 Filed 06/21/13 Page 2 of 2




1    being served with a copy, any party may serve and file written objections to such
2    proposed findings and recommendations.” No objections were filed within the time
3    permitted. The Court has reviewed the report and recommendation, and ADOPTS it
4    in its entirety.
5
6           IT IS SO ORDERED.
7
     Dated: 6/20/13
8
9
                                     By:    __________________________________
10                                          Honorable Larry Alan Burns
                                            United States District Judge
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                            -2-
